              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:12-CR-00088-MR-DLH-1


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
          vs.                    )             ORDER
                                 )
                                 )
ALEX DEAN NELSON,                )
                                 )
                   Defendant.    )
________________________________ )
                                 )
IN RE: PETITION OF               )
TAMMY NELSON.                    )
________________________________ )


     THIS MATTER is before the Court on the Government’s Motion [Doc.

30] to dismiss the Claim [Doc. 28] of Tammy Nelson (“Petitioner”) which

seeks modification of a preliminary order of forfeiture [Doc. 12]. Following

defendant Alex Dean Nelson’s guilty plea in this matter to public corruption

charges, the Magistrate Judge entered a preliminary order of forfeiture

pertaining to certain property. Nelson’s wife, Petitioner, has petitioned the

Court to modify the preliminary order to exclude assets in which she claims

an interest.   For the reasons that follow, the Government’s Motion to

dismiss Petitioner’s Claim will be denied.


   Case 1:12-cr-00088-MR-WCM     Document 34   Filed 08/14/13   Page 1 of 17
                      PROCEDURAL BACKGROUND

      Alex Dean Nelson (“Nelson”) and Bradley Dale Adkins (“Adkins”)

were named in a three-count Information filed herein by the U.S. Attorney

on September 14, 2012. [Doc. 1]. The Government alleged that, from in or

about June 2009 through in or about June 2012, defendants executed a

public corruption scheme to embezzle and steal from the Foothills Regional

Airport in Morganton, North Carolina (“Airport”), and its customers.

According to the Information, the Airport was funded by federal, state, and

local governments, and received in excess of $10,000 in federal money for

every one-year period material to the allegations contained in the

Information. [Id.] Nelson was the Airport’s Administrator, its top official,

and Adkins was its Operations Manager. [Id.]         Count One charged the

defendants with an 18 U.S.C. § 371 conspiracy, the object of which was to

embezzle money and property from a federally funded organization (the

Airport) in violation of 18 U.S.C. § 666. Count Two charged the defendants

with the substantive offense of embezzling money and property worth at

least $5,000 from a federally funded organization (the Airport) in violation of

18 U.S.C. § 666.       Count Three charged Nelson alone with money


                                      2




   Case 1:12-cr-00088-MR-WCM     Document 34    Filed 08/14/13   Page 2 of 17
laundering in violation of 18 U.S.C. § 1956(a)(1). Finally, the Information

contained a forfeiture provision which, in pertinent part, stated:

           17. The following property is subject to forfeiture on one
      or more of the grounds stated above:

            a.    any and all currency and monetary instruments that
                  were received during, involved in, or used or
                  intended to be used to facilitate the crimes alleged
                  in this bill of information, including but not limited to
                  the sum of approximately $130,000.00 in proceeds
                  and funds involved in the alleged violations.

            b.    2006 Ford Expedition, VIN: 1FMPU18586LA13977.

            c.    2008 Mercedes C300, VIN:
                  WDDGF54X78F075326.

            d.    Sun Tracker Party Barge 25 pontoon boat with
                  Mercury 115 motor.

            e.    2001 Chevrolet Corvette convertible, VIN
                  1G1YY32G615100723.

[Doc. 1 at 7].

      Pursuant to a written plea agreement [Doc. 2], Nelson pleaded guilty

to the charges contained in the Information on September 24, 2012, before

Magistrate Judge Dennis Howell. [Doc 10]. That same day, Magistrate

Judge Howell entered a consent order, preliminary judgment of forfeiture,

and order for substitute assets pursuant to 21 U.S.C. § 853(p). [Doc. 12].

                                       3




   Case 1:12-cr-00088-MR-WCM      Document 34    Filed 08/14/13   Page 3 of 17
This order forfeited the following property pending final adjudication by this

Court:

      A $130,000 forfeiture money judgment, such amount
      constituting the proceeds of the 18 U.S.C. § 371 and 18 U.S.C.
      § 666(a)(1)(A) offenses to which Defendant pled guilty in the
      Bill of Information; and

      The following specific property, forfeited in partial satisfaction of
      the $130,000 forfeiture money judgment:

             The real property at at [sic] 4640 Celia Creek Road,
             Lenoir, NC 28645, further described in a deed recorded in
             the Caldwell County, North Carolina Register of Deeds
             Office, Deed Book 1539, Page 1201-1203; 1204-1208;

             Sun Tracker Party Barge 25 pontoon boat with Mercury
             115 motor, both seized during the investigation;

             2006 Ford Expedition, VIN:1FMPU18586LA13977, seized
             during the investigation; and

             2001 Chevrolet Corvette convertible, VIN
             1GlYY32G615100723, seized during the investigation.

[Doc 12 at 1].

      On February 7, 2013, Petitioner filed a pro se Claim1 asserting that

she had an interest in the real property located at 4640 Celia Creek Road,


1
  Petitioner originally mailed her Claim to the Government within the time period
permitted for filing the same with the Court. The Government notified Petitioner of her
error in not filing her Claim with the Court and advised Petitioner it would not object to
an extension of time within which Petitioner could properly file her Claim with the Court.
[Doc. 30 at 4].
                                             4




    Case 1:12-cr-00088-MR-WCM         Document 34      Filed 08/14/13    Page 4 of 17
and in the tangible property preliminarily ordered forfeited. [Doc. 28]. The

Government responded by filing its “Motion to Dismiss Petition.” [Doc. 30].

With the assistance of counsel, Petitioner filed a response to the

Government’s dismissal motion. [Doc. 32]. In turn, the Government filed a

reply to Petitioner’s response. [Doc. 33].

      Now that the parties have briefed their respective positions, the

issues raised in the Government’s motion to dismiss Petitioner’s Claim are

ripe for the Court’s consideration.

                          STANDARD OF REVIEW

      Federal Rule of Criminal Procedure 32.2(c)(1)(A) provides that “[i]n

the ancillary proceeding [which commences upon a third party's filing of a

petition claiming an interest in forfeited property], the court may, on motion,

dismiss the petition for lack of standing, for failure to state a claim, or for

any other lawful reason. For purposes of the motion, the facts set forth in

the petition are assumed to be true.” This procedure “is treated like a

motion to dismiss pursuant to Fed.R.Civ.P. 12(b)(6).”        United States v.

Grossman, 501 F.3d 846, 848 (7th Cir. 2007).

      To survive a motion to dismiss made pursuant to Rule 12(b)(6), a

party’s allegations, treated as true, are required to contain “enough facts to
                                       5




   Case 1:12-cr-00088-MR-WCM     Document 34    Filed 08/14/13   Page 5 of 17
state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007). On the one hand, the claim need not

contain overly “detailed factual allegations[.]” Id. at 555. On the other hand,

however, “a formulaic recitation of the elements of a cause of action will not

do[,]” nor will mere labels and legal conclusions suffice. Id. “A claim has

facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that [she is entitled to the relief she

seeks for the reasons alleged.]” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009). The mere possibility that a plaintiff is entitled to relief is not

sufficient for a claim to survive a motion to dismiss. Twombly, 550 U.S. at

570. The touchstone, therefore, is plausibility and not possibility.

                         FACTUAL BACKGROUND

      The Government’s Information recites that, from in or about June

2009 through in or about June 2012, defendants executed a public

corruption scheme to embezzle and steal from the Airport and its

customers. [Doc. 1]. According to the statements contained in Petitioner’s

Claim, which the Government does not contest at this stage [Doc. 30 at

10], and the Court assumes to be true pursuant to Rule 32.2(c)(1)(A),

Petitioner used her individual funds to purchase and install the swimming
                                       6




   Case 1:12-cr-00088-MR-WCM     Document 34    Filed 08/14/13   Page 6 of 17
pool on Nelson’s property at 4640 Celia Creek Road, Lenoir, North

Carolina [Doc. 28-1 at 18, 21-22, 26-32], and to purchase the Sun Tracker

pontoon boat [Doc. 28-1 at 18-19], the 2006 Ford Expedition [Doc. 28-1 at

18, 20], and the 2001 Corvette [Doc. 28-1 at 10-12]. Petitioner explains

that, at the time she made these purchases, she and Nelson were married

for only one year, she was finalizing her property settlement dispute with

her ex-husband, and based upon the advice of her attorney, she was to

place all personal property she purchased in Nelson’s name. [Doc. 28 at

2].

        Petitioner purchased the Sun Tracker pontoon boat on May 19, 2009

[Doc. 30-2 at 3], by check dated May 18, 2009 [Doc. 28-1 at 19]. She

purchased the 2006 Ford Expedition and the 2001 Corvette on or about

May 20, 2009, pursuant to checks dated that day [Doc. 28-1 at 12, 20].

These three vehicles were thereafter listed or titled in Nelson’s name.

[Docs. 30-2, 30-3, 30-4]. With regard to the swimming pool on Nelson’s

property, Nelson contracted with Carolina Pool Builders on June 9, 2009, to

construct such pool. [Doc. 28-1 at 22]. Petitioner thereafter paid for the

pool installation by three checks made payable to Carolina Pool Builders


                                      7




      Case 1:12-cr-00088-MR-WCM   Document 34   Filed 08/14/13   Page 7 of 17
and dated, respectively, June 10, 2009 [Doc. 28-1 at 21]; June 27, 2009

[Doc. 28-1 at 29]; and July 28, 2009 [Doc. 28-1 at 32].

                                 ANALYSIS

      A third party who asserts an interest in forfeited property may petition

the Court for a hearing to adjudicate the validity of that interest. 21 U.S.C. §

853(n)(2). The Court must amend the preliminary forfeiture order if the

petitioner can show by a preponderance of the evidence that:

      (A) the petitioner has a legal right, title, or interest in the
      property, and such right, title, or interest renders the order of
      forfeiture invalid in whole or in part because the right, title, or
      interest was vested in the petitioner rather than the defendant
      or was superior to any right, title, or interest of the defendant at
      the time of the commission of the acts which gave rise to the
      forfeiture of the property under this section; or

      (B) the petitioner is a bona fide purchaser for value of the right,
      title, or interest in the property and was at the time of purchase
      reasonably without cause to believe that the property was
      subject to forfeiture under this section[.]

21 U.S.C. § 853(n)(6)(A)-(B).

      Resolution of the Government's motion centers on whether Petitioner

has standing to challenge the forfeiture order. The Government argues

“Petitioner cannot prevail as a matter of law because she does not have an

interest in the assets sufficient to establish standing or state a claim for the

                                       8




   Case 1:12-cr-00088-MR-WCM      Document 34    Filed 08/14/13   Page 8 of 17
purposes of Section 853(n).” [Doc. 30 at 10]. Thus, in order to withstand

the Government’s motion to dismiss, the Petitioner’s Claim must plausibly

show: (1) that she had a legal or equitable interest in the forfeited property,

United States v. Bryson, 406 F.3d 284, 286 (4th Cir. 2005), and (2) that

such interest was either vested or superior to Nelson’s interest in the

forfeited property at the time of the commission of the acts which gave rise

to the forfeiture. United States v. Oregon, 671 F.3d 484, 491 (4th Cir.

2012). Although forfeiture is an issue of federal law, courts generally refer

to the law of the state that created the property right to determine what

interests, if any, the claimant has in the forfeited property. Id. at 490; United

States v. Schecter, 251 F.3d 490, 494 (4th Cir. 2001).              But, as the

Government correctly points out, while the “norm” is to consider state law

[Doc. 30 at 11], the Fourth Circuit has departed from state law when

circumstances so require. This matter is one such case.

      The Government asserts that Petitioner has no interest in any of the

forfeited property because Nelson is either listed as the sole owner (the

boat), the sole title holder (the Expedition and Corvette), or the sole grantee

on the deed (4640 Celia Creek Road property). The Government errs in

this regard by equating one’s nominal ownership of property with one’s
                                       9




   Case 1:12-cr-00088-MR-WCM      Document 34    Filed 08/14/13   Page 9 of 17
legal or equitable interest in property.         To prevent manipulation of

ownership by criminals seeking to thwart forfeiture proceedings, the Fourth

Circuit has directed the district courts to “look beyond bare legal title” and

examine the underlying facts. Bryson, 406 F.3d at 291. The rationale for

this approach is found in the legislative history of the forfeiture statute.

      The intent of Congress in enacting the forfeiture provisions of §
      853 was to “strip these offenders [racketeers and drug dealers]
      and organizations of their economic power.” S. Rep. No. 225,
      reprinted in 1984 U.S.C.C.A.N. 3182, 3374. Therefore,
      Congress noted that § 853(n)(6) “should be construed to deny
      relief to third parties acting as nominees of the defendant or
      who knowingly engage in sham or fraudulent transactions.” S.
      Rep. No. 225, supra at 3392 n. 47. In order to effectuate the
      legislative purpose of the statute, courts must evaluate whether
      the petitioner is a nominee when reviewing the substance of a §
      853(n) claim.

United States v. Morgan, 224 F.3d 339, 343 (4th Cir. 2000) (footnote

omitted). The negative implication of this passage must be that Congress

would encourage the courts to “look beyond bare legal title” in an effort to

prevent innocent third parties from having their property — nominally titled

in a criminal defendant’s name — seized as a part of the defendant’s

criminal punishment.

      Ironically, the Government has successfully employed this “look

beyond bare legal title” approach when it sought forfeiture of property in
                                       10




  Case 1:12-cr-00088-MR-WCM       Document 34    Filed 08/14/13   Page 10 of 17
cases where a third-party petitioner had been the nominee recipient of a

criminal defendant’s goods.         See, e.g., Bryson, 406 F.3d at 291

(defendant’s son was only nominee owner of real property actually

belonging to and controlled by defendant); Morgan, 224 F.3d at 345

(defendant’s wife was only nominee owner of bank certificate of deposit

actually purchased by defendant using his own funds).            With the shoe

squarely on the other foot, the Government cannot now be heard to

complain when a claimant like Petitioner plausibly alleges that the criminal

defendant is merely the nominee owner of property she supplied her own

funds either to purchase or to improve.         Petitioner has pleaded facts

sufficient to establish her interest in all of the preliminarily forfeited

substitute property.

        Having concluded Petitioner has sufficiently alleged an interest in the

substitute property, the Court must now determine whether she has alleged

facts plausibly establishing whether her interest was either vested or

superior to Nelson’s interest in the forfeited property at the time of the

commission of his corrupt acts. Oregon, 671 F.3d at 491. Nelson has

admitted that his embezzlement from the Airport began in or around June

2009.     All of the vehicles Petitioner alleges to have purchased were
                                       11




  Case 1:12-cr-00088-MR-WCM       Document 34   Filed 08/14/13   Page 11 of 17
acquired in May 2009, before Nelson’s criminal acts began.              Further,

Petitioner’s Claim sets forth facts showing that the source of the funds she

used to purchase the vehicles, and to install the pool on Nelson’s property,

originated from her various bank accounts separate and apart from Nelson

long before June of 2009. Petitioner therefore argues her interest in the

forfeited property was either vested or superior to Nelson’s interest at the

time of his offense. The Government is unfazed by Petitioner’s assertions

and maintains in its Reply [Doc. 33] that she has no interest, and hence no

vested or superior interest, in the substitute properties to pursue her Claim

because the “Government has submitted title documents which reflect that

the forfeited properties are ‘property of the defendant’ – all of the properties

are titled solely in the name of the Defendant. Petitioner has not disputed

the authenticity of such title documents.”       [Id. at 2].     While there is

something to be said for the Government’s consistent approach, it errs yet

again in this regard by equating one’s titled ownership of property with

one’s vested interest in property.

      To be clear, under North Carolina common law, Petitioner has an

interest in Nelson’s land, more specifically an equitable lien, to the extent


                                      12




  Case 1:12-cr-00088-MR-WCM      Document 34    Filed 08/14/13   Page 12 of 17
that her separate funds improved his real property and were not a gift.2

Fulp v. Fulp, 264 N.C. 20, 140 S.E.2d 708 (1965); Burrowes v. Nimocks, 35

F.2d 152 (4th Cir. 1929).

       An equitable lien, or encumbrance, is not an estate in land, nor
       is it a right which, in itself, may be the basis of a possessory
       action. It is simply a charge upon the property, which charge
       subjects the property to the payment of the debt of the creditor
       in whose favor the charge exists.

Fulp, 264 N.C. at 24, 140 S.E.2d at 712. Petitioner’s charge upon Nelson’s

property vested upon her giving over funds to Nelson for improvements to

his home or land and the use of those funds in improving the land, and

Petitioner can enforce her equitable lien, for example, by means of a civil

action against the property itself.

       In an equitable lien there is a legal estate with possession in
       one person, and a special right over the thing held by another[.]
       … This special right is not an estate of any kind; it does not
       entitle the holder to a conveyance of the thing nor to its use; it is
       merely a right to secure the performance of some outstanding
       obligation, by means of a proceeding directed against the thing
       which is subject to the lien.

Id. at 24-5, 140 S.E.2d at 712-3.


2
  Petitioner’s separate money used both to improve Nelson’s real property and to
acquire the preliminarily forfeited vehicles, was not alleged by her to be a gift to Nelson.
Her Claim, quite candidly, recited that, “[d]ue to the ongoing property battle with my ex-
husband, I was advised by my attorney at the time, …, to put all newly purchased
property in my current husband’s name, which is Alex Dean Nelson.” [Doc. 28 at 2].
                                              13




    Case 1:12-cr-00088-MR-WCM         Document 34      Filed 08/14/13     Page 13 of 17
     Similarly, Petitioner has an interest in all of the preliminarily seized

vehicles since she is the beneficiary of a resulting trust for all purchase

money proceeds she provided for the acquisition of the vehicles. Bullman

v. Edney, 232 N.C. 465, 61 S.E.2d 338 (1950).

     And it is a well settled principle that where, on the purchase of
     property, the conveyance of the legal estate is taken in the
     name of one person, but the purchase money is paid by
     another at the same time or previously, and as a part of one
     transaction, a trust results in favor of him who supplies the
     purchase money.

Id. at 467, 61 S.E.2d at 340. When Petitioner used her separate funds to

buy the boat, Expedition, and Corvette, a trust resulted at that time in the

amount of her funds supplied as purchase money for the vehicles.

Thereafter, as a vested beneficiary, she could maintain an action for

partition of the property, or if the same were no longer available, an action

for conversion.

     Ordinarily a tenant in common in personalty is entitled to
     partition of the property. … However, if plaintiff prevail in
     establishing an interest in the automobile, and if, as stipulated
     by the parties, the automobile be not available for sale for
     partition, and the rights of the parties be not otherwise provided
     for in the ‘bond posted‘ by defendant, the evidence contained in
     the record tends to show facts which would support a claim for
     conversion.


                                     14




  Case 1:12-cr-00088-MR-WCM     Document 34   Filed 08/14/13   Page 14 of 17
Id. at 468, 61 S.E.2d at 340.      With regard to both the real and personal

property subject to the preliminary order of forfeiture in this matter, taking

Petitioner’s allegations as true, her vested interest is superior to that of

Nelson, and by extension, to that of the Government. See Oregon, 671

F.3d at 491 (the Government steps into a criminal defendant’s shoes and

acquires only that interest held by a defendant, and no more, in property

subject to a preliminarily order of forfeiture).

      In its final argument to terminate this proceeding at the pleadings

stage, the Government notes that Nelson, pursuant to his Plea Agreement,

is obligated to give truthful testimony in this matter. Nelson is on record for

having stipulated that his ill-gotten gains were used to install the pool at his

home [Doc. 30 at 5], that the boat constitutes forfeitable substitute property

[Doc. 30 at 6], and that the two remaining vehicles are titled in his name

[Doc. 30 at 6-7]. The implication drawn from the Government’s argument is

that a factual dispute exists between Nelson and Petitioner regarding the

source of funds used to build the pool and to acquire the vehicles, and that

Nelson’s version of events must prevail as a matter of law.                    The

Government’s argument is misplaced for two reasons.


                                        15




  Case 1:12-cr-00088-MR-WCM       Document 34      Filed 08/14/13   Page 15 of 17
     First, at this stage of the proceedings, the Court’s duty is to determine

Petitioner’s standing and whether she has made a threshold plausible

allegation that she has a sufficient interest in the property such that she

may be entitled to a modification of the preliminary forfeiture order. The

Government’s argument thus confuses the Court’s initial gate-keeping

function with its adjudication obligation slated to occur later in the

proceeding. Oregon, 671 F.3d at 488 (“As relevant here, the district court

must first consider any motion by the United States to dismiss the petition

for lack of standing before moving to the merits of the petition.”). Second,

to the extent the Government argues that Nelson’s stipulations somehow

trump Petitioner’s allegations, the Government’s argument misses the

mark. In testing Petitioner’s Claim, the Court looks to the facts alleged by

Petitioner, not the admissions made by defendant, in conducting its

plausibility analysis. “For purposes of the motion, the facts set forth in the

petition are assumed to be true.” Fed.R.Crim.P. 32.2(c)(1)(A).            More

fundamentally, however, due process dictates that a criminal defendant’s

admissions occurring as a part of his guilty plea or trial do not have, nor

can they have, any decisive influence over the statements made by a

forfeiture petitioner in her claim filed after the defendant’s conviction. See
                                     16




  Case 1:12-cr-00088-MR-WCM     Document 34    Filed 08/14/13   Page 16 of 17
United States v. Reckmeyer, 836 F.2d 200, 206 (4th Cir. 1987) (“The

determination made at the defendant's criminal trial that the property was

subject to forfeiture cannot be considered binding on persons who were not

only not parties to the criminal action but were specifically barred from

intervening.”). The Government has presented no legal authority to the

contrary.

     Assuming the truth of the facts set forth in Petitioner’s Claim as the

Court must, she has plausibly asserted that she had a legal or equitable

interest in the preliminarily forfeited property and that such interest was

either vested or superior to Nelson’s interest at the time he committed his

offenses.

                              CONCLUSION

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss Petition [Doc. 30] of claimant Tammy Nelson is DENIED.

                           Signed: August 14, 2013




                                        17




  Case 1:12-cr-00088-MR-WCM     Document 34          Filed 08/14/13   Page 17 of 17
